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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;/CENTER&gt;
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&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
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&lt;/SPAN&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;1&lt;/A&gt;-00&lt;A NAME="2"&gt;433&lt;/A&gt;-CV&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
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&lt;STRONG&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;CENTER&gt;&lt;A NAME="3"&gt;In re Albert F. Peralta&lt;/A&gt;&lt;/CENTER&gt;


&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;ORIGINAL PROCEEDING FROM &lt;A NAME="5"&gt;TRAVIS COUNTY&lt;/A&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;


PER CURIAM

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;	&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;	On August 3, 2001, Albert Peralta filed a petition for writ of mandamus.  The petition
is denied.  Tex. R. App. P. 52.8(a).&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Before Chief Justice Aboussie, Justices Yeakel and Patterson&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Filed:   August 8, 2001&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt;

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